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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:94-cr-01009-MP-AK

JOHN RICHARD KNOCK,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 1118, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Second Motion to Vacate, Doc. 1117, be

denied. The Court agrees with the Magistrate that review of Defendant’s motion is foreclosed at

this time. Defendant’s first motion to vacate was denied, and Defendant has not sought leave to

file a second or successive motion pursuant to Title 28 U.S.C. §§ 2244(b)(3) & 2255.

Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The Report and Recommendation of the Magistrate, Doc. 1118, is adopted and
       incorporated herein. Defendant’s Second Motion to Vacate, Doc. 1117, is DENIED.

       DONE AND ORDERED this            3rd day of October, 2008


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
